UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
________________________________________
In re:
                                                              Case No. 1-20-______-CLB
                                                                            10903
 EASTERN NIAGARA HOSPITAL, INC.,
                                                              Chapter 11
                           Debtor.
________________________________________


                      MOTION FOR INTERIM AND FINAL ORDERS
                      AUTHORIZING USE OF CASH COLLATERAL

        Eastern Niagara Hospital, Inc. (the “Debtor”), debtor and debtor in possession, by and

through its undersigned counsel, hereby moves this Court for entry of an interim order, the

proposed form of which is attached hereto as Exhibit A (the “Interim Order”), pursuant to

Sections 361 and 363 of Title 11 of the United States Code (as amended, the “Bankruptcy

Code”) and Fed. R. Bankr. P. (“Bankruptcy Rules”) 4001: (i) authorizing the Debtor’s use of

cash collateral to maintain ongoing operations and avoid immediate and irreparable harm to the

Debtor’s estate pending a final hearing; (ii) determining that the Debtor’s prepetition secured

creditors’ interests in cash collateral are adequately protected; (iii) scheduling a final hearing in

connection with the relief sought in this Motion; and (iv) granting such other and further relief as

the Court deems appropriate (the “Motion”). In support of this Motion, the Debtor submits as

follows:

                         JURISDICTION, VENUE AND BASIS FOR RELIEF

        1.     The Court has subject matter jurisdiction to consider this matter pursuant to 28

U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b) and may be determined

by the Bankruptcy Court. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409.




    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                    Description: Main Document , Page 1 of 84
       2.      The statutory predicates for the relief requested herein are Sections 361 and

363(a) and (c)(2) of the Bankruptcy Code and Bankruptcy Rule 4001(b).

                   CONCISE STATEMENT PURSUANT TO BANKRUPTCY RULE 4001

       3.      All entities with an interest in the Debtor’s cash collateral are identified in the

Motion below. This Motion seeks authorization to use cash collateral to maintain the Debtor’s

ordinary course business operations – primarily meeting payroll obligations to its employees and

other expenses necessary to maintain the delivery of health care services. The proposed terms of

usage are set forth in detail in the Interim Order and the Budget (as that term is defined below).

The proposed Interim Order provides the following in favor of the Debtor’s main secured

creditor, Citizens Bank, N.A. (“Citizens”):

                      expiration of the authority to use cash collateral on the date of the final

                       hearing, unless extended by further order of the Court;

                      a rollover lien to the same extent and validity of its pre-petition interest in

                       the Debtor’s assets;

                      regular payments to Citizens, including payment of legal fees and

                       expenses;

                      findings that Citizens’ notes, security agreements and mortgages are valid

                       and fully enforceable in accordance with their terms;

                      a limited period within which an Official Committee of Unsecured

                       Creditors, or other parties in interest, may challenge the extent, validity or

                       priority of Citizens’ loans and collateral;

                      an allowed superpriority claim pursuant to 11 U.S.C. §507(b) to the extent

                       of any diminution in the value of Citizens’ collateral; and



                                       -2-
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                    Description: Main Document , Page 2 of 84
                      a waiver of any ability to subject Citizens to the equitable doctrine of

                       “marshaling” or any similar doctrine.

                                          BACKGROUND

       4.       On July 6, 2020 (the “Petition Date”), the Debtor commenced this Chapter 11

case by filing a voluntary petition for relief under Chapter 11 of Title 11 of the United States

Code, 11 U.S.C. §§ 101-1330 (the “Bankruptcy Code”). The Debtor is continuing in possession

of its properties and is operating and managing its businesses, as debtor in possession, pursuant

to Sections 1107 and 1108 of the Bankruptcy Code.

       5.       Additional information about the Debtor’s businesses, the events leading up to the

Petition Date and the Debtor’s Chapter 11 petition can be found in the Declaration of Anne E.

McCaffrey in Support of Chapter 11 Petition and First Day Motions (the “McCaffrey

Declaration”). The Debtor relies on the McCaffrey Declaration in making the Motion and

incorporates it herein by reference.

       6.       The Debtor is a not for profit general hospital, organized and existing under the

laws of the State of New York, licensed under Article 28 of the New York State Public Health

Law.

       7.       The Debtor owns and operates medical facilities in Lockport, New York.

       8.       Through this bankruptcy proceeding, the Debtor intends to reorganize its

operations.

       9.       In order to continue to deliver health care services and to maintain its assets, the

Debtor must have access to and be able to use the cash generated by its operations (the “Cash

Collateral”).




                                       -3-
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                    Description: Main Document , Page 3 of 84
       10.     Through this motion, the Debtor requests that the Court allow it to use the Cash

Collateral because such use is critical to Debtor’s operations and because the security interests of

the Debtor’s secured creditor, Citizens Bank, N.A., will be adequately protected.

                 SECURED CREDITORS WITH INTERESTS IN CASH COLLATERAL

       11.     On or about September 13, 2013, RBS Citizens Bank, N.A. (“Citizens Bank”) and

Debtor entered into a $4,000,000 Note and a related security agreement and mortgage, and other

related documents (the “$4mm Facility”). Copies of the Note and Security Agreement

evidencing the $4mm Facility are annexed hereto as Exhibit B. On or about November 6, 2013,

RBS Citizens Bank, N.A. and Debtor entered into a $3mm Note and a related security agreement

and mortgage, and other related documents (the “$3mm Facility”). Copies of the Note and

Security Agreement evidencing the $3mm Facility are annexed hereto Exhibit C. The current

balance on the $4mm Note is approximately $3,482,439.16 while the current balance on the

$3mm Note is approximately $2,628,855.00. The regular monthly payments made by Debtor

under the $4mm Note and the $3mm Note are $21,256.82 and $17,987.40, respectively.

       12.     As described above, the $4mm Facility and the $3mm Facility are each secured

pursuant to general security agreements with the Debtor. Among other things, the Debtor

granted Citizens Bank security interests in certain personal property pursuant to the terms of

security agreements (the “Security Agreements”). The Security Agreements provide Citizens

Bank a security interest in certain assets of the Debtor as more fully described in the Security

Agreement including accounts, Health Care Insurance Receivables and Deposit Accounts.

                                       RELIEF REQUESTED

       13.     By this Motion the Debtor seeks entry of the Interim Order pursuant to Sections

361 and 363 of the Bankruptcy Code and Bankruptcy Rule 4001(b): (i) authorizing the Debtor to



                                       -4-
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                    Description: Main Document , Page 4 of 84
use cash that may otherwise serve as collateral security for the amounts owed to Citizens Bank

(the “Cash Collateral”), pursuant to the budget set forth in Exhibit D annexed hereto (the

“Budget”), as working capital to purchase goods and services and pay operating expenses related

to the Debtor’s ordinary course business operations, and in order to preserve the value of the

Debtor’s estate, including without limitation, using Cash Collateral per the Budget for a brief

interim period to satisfy (a) any prepetition operating and other expenses that may be approved

by the Court, (b) obligations incurred in the ongoing post-petition operations of the Debtor, and

(c) any and all costs and expenses arising in connection with the administration of the Debtor’s

estate, on an interim basis and pending a final hearing; (ii) determining that Citizens Bank’s

interest in Cash Collateral is adequately protected and authorizing the Debtor to make adequate

protection payments as provided for in the Budget; and (iii) scheduling a final hearing on the

Motion to consider entry of a Final Order granting the relief requested herein.

                                           ARGUMENT

       14.     The Debtor should be granted use of Cash Collateral in accordance with the

proposed Budget because:

                     The Debtor’s access to the Cash Collateral is absolutely necessary for the

                      Debtor to preserve the value of its business and Citizens Bank’s collateral

                      during the pendency of the Debtor’s Chapter 11 case, and

                     The proposed use of Cash Collateral is modest in scope and primarily

                      designed to satisfy employee claims and to maintain critical operations

                      pending a final hearing.

Accordingly, the proposed use of Cash Collateral is necessary and appropriate under Section 363

of the Bankruptcy Code and the Bank’s interests in such will be adequately protected.



                                       -5-
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                    Description: Main Document , Page 5 of 84
A.     Debtor’s Need to Use Cash Collateral

       15.       To the extent the Debtor’s cash on hand constitutes Cash Collateral, and the

Debtor believes it does, it is subject to the use restriction set forth in Section 363(c)(2) of the

Bankruptcy Code.       Without authorization from the Court for the Debtor to use the Cash

Collateral in accordance with Section 363(c)(2)(B) of the Bankruptcy Code, the Debtor will be

left without a source of working capital and will be unable to operate its businesses and, thereby,

preserve the value of its estate for the benefit of creditors. The ability of the Debtor to preserve

its business and assets, and ultimately to reorganize, will be adversely affected if the Debtor is

unable to use the Cash Collateral to fund its daily business operations. Without the ability to

fund the Debtor’s current operations on an interim basis, the value of the Debtor’s assets will be

irreparably harmed as indeed the failure of the business itself is likely if Cash Collateral use is

not permitted.

B.     Adequate Protection

       16.       Pursuant to Section 363(c)(2) of the Bankruptcy Code, a debtor-in-possession

may not use cash collateral without the consent of the secured party or approval by the Court.

By obtaining approval to use cash collateral, a debtor can continue to operate its business and

maintain and enhance the value of its lenders’ collateral.        See, e.g., In re Megan Racine

Associates Inc., 202 B.R. 660, 663 (Bankr. N.D.N.Y. 2002); In re Constable Plaza Assocs., L.P.,

125 B.R. 98, 105 (Bankr. S.D.N.Y. 1991). Section 363(e) of the Bankruptcy Code provides that

on request of an entity that has an interest in property used or proposed to be used by the debtor,

the court shall prohibit or condition such use as is necessary to provide “adequate protection” of

that interest. 11 U.S.C. §363(e); see Zink v. Vanmiddlesworth, 300 B.R. 394, 402-03 (N.D.N.Y.




                                        -6-
     Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                     Description: Main Document , Page 6 of 84
2003) (burden is on creditor to show collateral value decline in order to justify provision of

adequate protection or additional adequate protection).

       17.     What constitutes “adequate protection” must be decided on a case-by-case basis.

See In re O’Connor, 808 F.2d 1393, 1396-97 (10th Cir. 1987); In re Martin, 761 F.2d 472, 474

(8th Cir. 1985). The adequate protection requirement is meant to prevent the diminution in the

value of the secured creditors’ interests in their collateral during the reorganization process. See

Megan Racine, supra (citing, In re Gallegos Research Group Corp., 193 B.R. 577, 584 (Bankr.

D. Colo. 1995) (citing in turn, United Savings Ass’n of Texas v. Timbers of Imwood Forest

Assoc., Ltd., 484 U.S. 365 (1988) (“[T]o determine whether an entity is entitled to adequate

protection and the type and amount of adequate protection required, a court must determine the

value of the collateral, the creditor’s interest in the collateral and the extent to which that value

will decrease during the course of the bankruptcy case”); In re Ledgemere Land Corp., 116 B.R.

338, 343 (Bankr. D. Mass. 1990) (permitting bank to receive adequate protection only where

value of lender’s entire property interest, not just its interest in the cash sought to be used, is

declining); In re Beker Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986) (focus is on

protection of the secured creditor from diminution in value of its collateral during reorganization

process). Where a debtor’s cash is liened and used to enhance a secured creditor’s collateral

value and to increase the value of collateral, such use demonstrates the existence of adequate

protection. In re 499 W. Warren Street Associates Ltd. Partnership, 142 B.R. 53, 56 (Bankr.

N.D.N.Y. 1992); see also In re Diaconix Corp., 69 B.R. 333, 336 (Bankr. E.D. Pa. 1987) (third

party guaranty can serve as adequate protection).

       18.     In this case, where the Budget is designed to maintain the Debtor’s critical

operations, the proposed Cash Collateral usage allows the generation of additional receivables,




                                       -7-
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                    Description: Main Document , Page 7 of 84
and maintains the value of Citizens Bank’s other collateral. It is in the interests of Citizens Bank

(as well as all of the Debtor’s creditors) to maintain the orderly operation of the business

operations, while the Debtor works on its reorganization.

       19.     Further, the Debtor will suffer great harm if it is not authorized to use the Cash

Collateral, as the Debtor will have no source of working capital for the business, and the business

will not be able to fund its daily business operations, which again, are all preservative of and of

direct benefit to the value of Citizens Bank’s collateral. The Debtor will not be able to pay

suppliers, employees or other ordinary course obligations if it is not allowed to use Cash

Collateral per the Budget and to use it with appropriate flexibility as set forth in the Interim

Order. Failure to approve the use of the Cash Collateral as requested herein will lead to

disastrous consequences not only for the Debtor, but for all parties in interest, including Citizens

Bank, other creditors, and the communities served by the Debtor.

C.     The Need for Immediate Relief

       20.     Pursuant to Bankruptcy Rule 4001(b)(2), a final hearing on a motion for the use

of cash collateral may not be commenced earlier than fourteen (14) days after service of that

motion. However, the court may conduct an interim hearing before the expiration of the 14-day

period and authorize the use of cash collateral to the extent necessary to avoid immediate and

irreparable harm to a debtor’s estate.

       21.     Pursuant to Bankruptcy Rule 4001(b), the Debtor requests that the Court conduct

an expedited interim hearing on or prior to July 10, 2020, pending any hearing to be held to

consider the final relief requested by this Motion. In connection with such interim hearing, and

the pendency period thereafter to any final hearing set by the Court, the Debtor requests that the

Court authorize the Debtor to use such Cash Collateral as is essential to make its payroll, to



                                        -8-
     Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                     Description: Main Document , Page 8 of 84
ensure the maintenance of ongoing operations, and to avoid immediate and irreparable harm to

its estate -- all as reflected in the line items of the Budget.

         22.    Without the Court’s authorization to use the Cash Collateral on an interim basis

pending a final hearing on this Motion, the Debtor’s estate will be imminently and irreparably

harmed. Employees will not be paid and, as discussed above, the Debtor will not be able to

operate without the use of Cash Collateral, resulting in adverse consequences not only for the

Debtor, but also for Citizens Bank, other creditors, employees, local suppliers, the community

served by the Debtor’s operations, and all parties in interest. Under the circumstances, the

interim use of the Cash Collateral by the Debtor is appropriate in this case.

                                                NOTICE

         23.    Notice of this Motion has been provided to: (i) the Office of the United States

Trustee; (ii) counsel to Citizens Bank; (iii) the creditors holding the 20 largest unsecured claims

against the Debtor’s estate, as identified in the Debtor’s Chapter 11 petition; and (iv) counsel for

the Official Committee of Unsecured Creditors appointed in the 2019 Chapter 11 case. The

Debtor submits that no other or further notice need be provided.

                                         NO PRIOR REQUEST

         24.    No prior motion for the relief requested herein has been made to this or any other

court.

         WHEREFORE, the Debtor respectfully requests that the Court enter the Interim Order:

(i) authorizing the Debtor to use cash that may otherwise serve as Cash Collateral pursuant to the

Budget for the period specified in the Interim Order; (ii) determining that Citizens Bank’s

interest in Cash Collateral is adequately protected; (iii) scheduling hearings in connection with




                                        -9-
     Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                     Description: Main Document , Page 9 of 84
the relief sought in the Motion; and (iv) granting such other and further relief as the Court deems

appropriate.

Dated: July 8, 2020
       Syracuse, New York
                                             BARCLAY DAMON LLP
                                             Proposed Counsel for Debtor and Debtor in
                                             Possession

                                             By:     /s/Jeffrey A. Dove________________
                                             Jeffrey A. Dove, Esq.
                                             Office and Post Office Address
                                             Barclay Damon Tower
                                             125 East Jefferson Street
                                             Syracuse, New York 13202
                                             Telephone: (315) 413-7112
                                             Facsimile: (315) 703-7346
                                             Email: jdove@barclaydamon.com




                                      - 10 -
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                   Description: Main Document , Page 10 of 84
EXHIBIT “A”




Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 11 of 84
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
________________________________________
In re:
                                                                         Case No. 1-20-______-CLB
                                                                                       10903
    EASTERN NIAGARA HOSPITAL, INC.,
                                                                         Chapter 11
                           Debtor.
________________________________________

                INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL

           This matter having come before the Court on July 10, 2020 for a hearing on Eastern

Niagara Hospital, Inc.’s (“ENH” or the “Debtor”), debtor and debtor in possession, application

(the “Motion”) for authority to use cash collateral and to provide adequate protection to Citizens

Bank, N.A., f/k/a RBS Citizens, N.A. (the “Secured Creditor”). The Debtor seeks entry of an

order authorizing the use of cash collateral and providing adequate protection to the Secured

Creditor. The Debtor has represented to the Court, and the Court hereby finds:

           A.       As security for ENH’s performance of its obligations under the loan agreements

for the $3mm Facility1 and the $4mm Facility (the “Pre-Petition Loan Agreements”), ENH

granted the Secured Creditor valid and binding first priority liens on certain of ENH’s personal

property, including its equipment, inventory, certain accounts receivable, and proceeds thereof as

well as ENH’s general intangibles, all as more specifically defined: (i) as “Collateral” (which

definition is incorporated herein) in that certain Amended and Restated Security Agreement

dated as of November 6, 2013 by and among ENH and the Secured Creditor and (ii) “Mortgaged

Property” (which definition is incorporated herein) in that certain First Mortgage, Assignment of

Leases and Rents and Security Agreement dated as of September 13, 2013 by and among ENH

and the Secured Creditor, and (iii) “Mortgaged Property” (which definition is incorporated



1
    Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.


                                            1
        Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                       Description: Main Document , Page 12 of 84
herein and together with the Collateral, the “Pre-Petition First Lien Collateral”) in that certain

First Mortgage, Assignment of Leases and Rents and Security Agreement dated as of November

6, 2013 by and among ENH and the Secured Creditor. The Pre-Petition First Lien Collateral

includes, among other things, ENH’s present and future cash collateral, as such term is defined in

Section 363 of the Bankruptcy Code (the “Cash Collateral”). The Secured Creditor asserts that

the Debtor may not use Cash Collateral unless the interests of the Secured Creditor is adequately

protected.

       B.      As of the Petition Date, ENH was obligated and indebted to the Secured Creditor

under the $3mm Facility in the amount of $3,533,556.28 and under the $4mm Facility in the

amount of $2,679,787.96 and together with accrued and unpaid interest thereon and all other fees

and expenses, including, without limitation, the reasonable and documented fees and expenses of

the Secured Creditors’ attorneys, consultants, attorneys, consultants, accountants, experts and

financial advisors required to be reimbursed by ENH pursuant to the Pre-Petition Loan

Agreements (the “Pre-Petition Indebtedness”).

       C.      The Debtor provided notice of the Motion to the Secured Creditor, the Office of

the U.S. Trustee, each of the Debtor’s twenty largest unsecured creditors, and all parties

requesting notice.

       D.      The Debtor alleges that the continued operation of the business is dependent upon

the ability to use Cash Collateral. The Debtor alleges that there is an immediate need for entry of

an order authorizing use of Cash Collateral, and, absent entry of such an order, the Debtor’s

estate will be irreparably harmed.

       Based upon the foregoing, the statements of counsel for the parties and all others matters

heard by the Court, THE COURT HEREBY ORDERS:




                                        2
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                   Description: Main Document , Page 13 of 84
       1.      Attached to the Motion as EXHIBIT E is a thirteen-week cash flow projection (on

a weekly basis) (the “Budget”), which has been prepared by ENH. The Debtor is authorized to

use Cash Collateral from July 8, 2020 through July ____, 2020 (inclusive) in an aggregate

amount equal to the amounts in the Budget with a variance of 10% (i) per line item permitted,

(ii) of gross disbursements and (iii) of gross collections, each measured on the last business day

of each week; provided that such use of Cash Collateral shall be exclusively in the ordinary

course of the Debtor’s business and only for those items set out in the Budget. On Tuesday of

each week, the Debtor shall provide the Secured Creditor an updated Budget and a report

reconciling the Debtor’s actual performance to Budget, an accounts payable aging schedule and

an accounts receivable aging schedule. The Debtor’s authority to use Cash Collateral shall

terminate on July _____, 2020 unless extended by subsequent Court order. Notwithstanding this

authorization, the Debtor shall not use Cash Collateral for the payment or satisfaction of any

expense that will result in the Debtor spending more than 110% of any line item amount

budgeted for such period.

       2.      ENH shall provide the Secured Creditor with such financial reports and

information as is required under any applicable loan documents or as Secured Creditor may

reasonably request.

       3.      ENH shall permit agents of the Secured Creditor to inspect the Debtor’s books,

records, assets, and facilities, and to make copies or abstracts from the books and records, during

regular business hours, except that the Debtor reserves its rights not to share proprietary or

statutorily protected information without appropriate safeguards.

       4.      The Debtor shall not (a) take any action outside the ordinary course of its

business, including without limitation the settlement of accounts receivable for less than face




                                        3
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                   Description: Main Document , Page 14 of 84
value except as is customary and in conformance with its past business practice, without the prior

approval of the Court, or (b) grant, permit or suffer to exist any lien upon or security interests in

its assets (other than liens and security interests in existence on the Petition Date) during the term

of this Order unless agreed to by the Secured Creditor or authorized by the Court.

       5.      Each of the Pre-Petition Loan Agreements and all security agreements, notes,

guarantees, mortgages, Uniform Commercial Code financing statements and all other related

agreements, documents and instruments executed and/or delivered in connection with Pre-

Petition Loan Agreements or related thereto is valid, binding, and enforceable in accordance with

its terms.   The Pre-Petition Indebtedness is secured by valid, binding, properly perfected,

enforceable, non-avoidable, first-priority liens and security interests (the “Pre-Petition First

Priority Liens”) in and against the Pre-Petition First Lien Collateral (including, without

limitation, Cash Collateral). There exists no basis upon which the Debtor can properly challenge

or avoid the validity, enforceability, priority or perfection of the Pre-Petition Indebtedness or the

Pre-Petition First Priority Liens, and the Debtor shall not assert any claim, challenge or

counterclaim in respect of the Pre-Petition Indebtedness, the Pre-Petition First Priority Liens or

the amounts paid or payable to the Secured Creditor.              No portion of the Pre-Petition

Indebtedness, the Pre-Petition First Priority Liens, or any amounts paid or payable to the Secured

Creditor or applied to the obligations owing under the First Lien Loan Documents prior to the

Petition Date is subject to avoidance, subordination (whether equitable, contractual or

otherwise), recharacterization, recovery, attack, offset, counterclaim, cross-claims, disallowance,

impairment, recoupment, defense, challenge, objection, reduction, disgorgement, or claim (as

defined in section 101(5) of the Bankruptcy Code) of any kind pursuant to the Bankruptcy Code

or applicable non-bankruptcy law. The provisions of this paragraph 5 shall be binding on any




                                        4
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                   Description: Main Document , Page 15 of 84
Committee or chapter 7 or chapter 11 trustee appointed or elected for any of the Debtors (a

“Trustee”), for all purposes unless (a) (i) any party in interest other than the Committee, no later

than _________________, 2020, and (ii) the Committee, no later than forty-five (45) days after

their appointment (subject in all respects to any agreement or applicable law which may limit or

affect such entity’s right or ability to do so) (as applicable for clauses (i) and (ii), the “Challenge

Period”), has properly filed an adversary proceeding as required under the Bankruptcy Rules (x)

challenging the amount, validity, enforceability, priority or extent of the Pre-Petition

Indebtedness or the Pre-Petition First Priority Liens, or (y) otherwise asserting any other claims,

counterclaims, causes of action, objections, contests or defenses against the Secured Creditor on

behalf of the Debtor’s estates. The findings herein shall be binding upon the Debtor, its estate,

all parties in interest in this case and their respective successors and assigns, including any

trustee or other fiduciary appointed in this case or any subsequently converted bankruptcy

case(s) of the Debtor and shall inure to the benefit of the Secured Creditor and the Debtor and

their respective successors and assigns.

       6.      No Cash Collateral may be used to: (a) object, contest or raise any defense to, the

validity, perfection, priority, extent or enforceability of the Pre-Petition Indebtedness, the Pre-

Petition First Priority Liens, or the liens or claims granted under this order; (b) assert any claims

and defenses against the Secured Creditor or its agents, affiliates, representatives, attorneys or

advisors; or (c) seek to modify any of the rights granted to the Secured Creditor hereunder.

       7.      Pursuant to Sections 361(2), 363(e) and 506 of the Bankruptcy Code, in order to

provide adequate protection of the Secured Creditor’s interests under applicable law in the Cash

Collateral against diminution in the value of the Pre-Petition First Lien Collateral (“Collateral

Diminution”) caused by the Debtor’s use of Cash Collateral pursuant to this Order, ENH grants,




                                         5
     Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                    Description: Main Document , Page 16 of 84
and the Secured Creditor is hereby granted, roll-over security interests in the Debtor’s post-

petition acquired assets of the same type, and to the same extent, validity and priority as the

Secured Creditor holds on the Petition Date (other than any avoidance actions under Sections

547, 548 or 549 of the Bankruptcy Code) (the “Roll-Over Liens”), Such Roll-Over Liens shall be

(i) in addition to all security interests, liens and rights of setoff existing in favor of the Secured

Creditor on the Petition Date, (ii) valid, perfected, enforceable liens and effective as of the

Petition Date without any further action by the Debtor or the Secured Creditor and without the

execution, filing or recordation of any document otherwise required under applicable law for

granting and perfecting security interests and liens, and (iii) security for the use of Cash

Collateral and as protection against Collateral Diminution. Notwithstanding the foregoing, the

Debtor is hereby authorized and directed at its expense to execute, file and record any security

agreements, financing statements, instruments, or other documents as may be reasonably

requested by the Secured Creditor to otherwise evidence and perfect the Roll-Over Liens. The

security interests and liens granted pursuant to this Order shall be binding upon the Debtor, any

successor in interest to the Debtor or their assigns, and creditors who have or may hereafter

extend credit to the Debtor or their estates. The Roll-Over Liens shall have the same extent and

validity as the Secured Creditor’s Pre-Petition First Priority Liens. No other liens or claims are

or will be prior to or on parity with the liens or claims of the Secured Creditor with respect to the

Roll-Over Liens (unless authorized by the Court).

       8.      As further adequate protection, the Debtor shall continue to timely pay the

Secured Creditor all monthly payments due under the Pre-Petition Loan Agreements, at the non-

default rate of interest as set forth in the Pre-Petition Loan Agreements (the “Adequate

Protection Amortization Payments”) and the Secured Creditor shall receive payment of its fees




                                        6
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                   Description: Main Document , Page 17 of 84
and expenses, including without limitation, the reasonable fees and disbursements of its counsel

(the “Adequate Protection Fees” and together with the Adequate Protection Amortization

Payment, the “Adequate Protection Payments”). The Adequate Protection Payments shall be

paid by the Debtor as follows: (i) on the first business day of each month, the Debtor shall pay

the Adequate Protection Amortization Payments; (ii) monthly, within ten business days of

Debtor’s receipt of an invoice, with a copy to any Committee, with time-entry detail, identifying

the Adequate Protection Fees and with any necessary redactions thereto, the Debtor shall pay

that portion of the Adequate Protection Fees to which the Debtors and the Committee have no

objection. In the event of any objection by the Debtor or any Committee to any Adequate

Protection Fees, such Adequate Protection Fees that are the subject of such objection shall not be

paid by the Debtor until the dispute over such amounts are resolved by the Debtor or any

Committee and the Secured Creditor or by this Court. The parties shall work in good faith to

resolve any such objection, and to the extent the parties cannot resolve such objection, the Court

will have exclusive jurisdiction to determine it.

       9.      As further adequate protection for any Collateral Diminution, the Secured

Creditor is hereby granted as and to the extent provided by section 507(b) of the Bankruptcy

Code, allowed superpriority administrative expense claims in this case and any successor

bankruptcy cases. Such claims shall have priority over all administrative expense claims and

unsecured claims against the Debtor and its estate now existing or hereafter arising, of any kind

or nature whatsoever.

       10.     The Secured Creditor shall not be subject to the equitable doctrine of

“marshaling” and/or any other similar doctrine with respect to any of the Pre-Petition First Lien

Collateral (including Cash Collateral).




                                        7
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                   Description: Main Document , Page 18 of 84
        11.     Nothing herein shall be deemed to be a waiver by the Secured Creditor of any

other rights it may have under applicable law in or against the Debtor’s interests in property,

including, but not limited to, setoff and recoupment rights, which rights the Secured Creditor

expressly reserves.

        12.     Nothing herein shall be deemed to prevent the Secured Creditor from seeking to

terminate the use of Cash Collateral for any breach by the Debtor of the terms hereof or to obtain

relief from the automatic stay or to assert any other rights, claims, remedies, or defenses

available to them, nor shall anything contained herein deprive the Debtor or any other party in

interest of the right to oppose any such action.

        13.     Any reversal, modification, or vacation of this Order shall not affect the validity

or priority of any obligation of the Debtor to the Secured Creditor incurred or arising by

operation of law, or any security interest or lien granted to the Secured Creditor under this Order,

before the effective date of such reversal, modification, or vacation. Notwithstanding the entry

of any subsequent stay or any such reversal, modification, or vacation, all uses of the Cash

Collateral, and the security interests and liens granted to the Secured Creditor by the Debtor

under this Order before the effective date of such stay, reversal, modification, or vacation, shall

be governed in all respects by the original provisions of this Order and the Secured Creditor shall

be entitled to all the rights, privileges, and benefits with respect to all such uses, obligations,

security interests, and liens.

        14.     Nothing herein shall preclude the Secured Creditor from asserting that it is not

adequately protected, requesting additional adequate protection or making any contention

respecting valuation of collateral or the amount of their claims.




                                         8
     Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                    Description: Main Document , Page 19 of 84
         15.   A final hearing on the Motion will be held on _____________, 2020 at ______

a.m. at the United States Courthouse, 2 Niagara Square, Buffalo, New York.

         16.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this order

are immediately effective and enforceable upon its entry.

Dated:    July _____, 2020

                                            HON. CARL L. BUCKI,
                                            CHIEF U.S. BANKRUPTCY JUDGE




                                        9
    Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                   Description: Main Document , Page 20 of 84
EXHIBIT “B”




Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 21 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 22 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 23 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 24 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 25 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 26 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 27 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 28 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 29 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 30 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 31 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 32 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 33 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 34 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 35 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 36 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 37 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 38 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 39 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 40 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 41 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 42 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 43 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 44 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 45 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 46 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 47 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 48 of 84
EXHIBIT “C”




Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 49 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 50 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 51 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 52 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 53 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 54 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 55 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 56 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 57 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 58 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 59 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 60 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 61 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 62 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 63 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 64 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 65 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 66 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 67 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 68 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 69 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 70 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 71 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 72 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 73 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 74 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 75 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 76 of 84
Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 77 of 84
EXHIBIT “D”




Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
               Description: Main Document , Page 78 of 84
EASTERN NIAGARA HOSPITAL
13 Week Cash Flow Projection
                                                                           11/9/2019                                               11/16/2019                                                11/23/2019                                               11/30/2019                                               12/7/2019
RECEIPTS                                                 Budget              Actual           Variance           Budget              Actual            Variance           Budget               Actual            Variance           Budget              Actual            Variance           Budget              Actual           Variance
Operating
 Net Patient Service Revenue                         $     844,654 $           805,986 $          (38,668) $       844,654 $           713,609 $          (131,045) $         844,654 $          853,275 $            8,621 $         675,723 $           879,913 $          204,190 $         762,547 $           854,169 $          91,622
 Other Recurring Operating Revenue                   $       7,272 $            39,163 $           31,891 $          7,272 $           153,135 $           145,863 $            7,272 $           33,141 $           25,869 $           7,272 $             5,971 $           (1,301) $          5,747                     $          (5,747)
 GPO                                                                                   $              -                                        $               -                                         $              -                                         $              -    $            -                       $             -
Non Operating
 VAPAP                                               $    1,500,000 $        1,530,756 $          30,756                                           $              -                                          $              -                                         $              -   $            -                       $              -
 VAP                                                                                                                                                                                                                                                                                     $            -                       $              -
 Stimulus / PPP Loan
 Interest Revenue                                    $        1,316                       $        (1,316) $          1,316                        $        (1,316) $           1,316                        $        (1,316) $          1,053                        $        (1,053) $              -                       $              -
 Donations                                           $        2,632                       $        (2,632) $          2,632                        $        (2,632) $           2,632                        $        (2,632) $          2,105                        $        (2,105) $              -                       $              -
 Transfer from Cornerstone Bank (PPP Loan)
 Transfer from Payroll Account
 Transfer from Capital Funds Account
 Net proceeds from sale of assets                                                      $             -                                          $             -                                           $             -                                          $             -    $             -                      $             -
Total Receipts                                       $    2,355,874 $        2,375,905 $          20,031 $          855,874 $           866,744 $          10,870 $           855,874 $           886,416 $          30,542 $          686,153 $           885,884 $         199,731 $          768,295 $          854,169 $          85,874
                Variance - Cumulative                                                                    $        3,211,748 $         3,242,649 $          30,901 $         4,067,622 $         4,129,065 $          61,443 $        4,753,775 $         5,014,949 $         261,174 $        5,522,070 $        5,869,118 $         347,048
               Variance % - Cumulative                                                                                                                          1%                                                        2%                                                       5%                                                      6%

EXPENSES:
SALARIES & WAGES                                     $          -      $           -      $           -      $     (793,779)   $       (890,608)   $      (96,829)    $           -      $         (1,854)   $       (1,854)    $     (793,779)   $       (901,511)   $      (107,732)   $          -      $           -      $           -
PHYSICIAN FEES                                       $      (90,753)   $           -      $        90,753    $      (90,753)   $        (24,257)   $       66,496     $       (90,753)   $            -      $       90,753     $      (90,753)   $        (98,474)   $        (7,721)   $     (251,042)   $        (5,590)   $       245,452
FRINGE BENEFITS                                      $          -      $       (85,614)   $       (85,614)   $     (577,997)   $       (456,137)   $      121,860     $           -      $        (26,448)   $      (26,448)    $     (172,997)   $        (67,441)   $       105,556    $          -      $      (332,628)   $      (332,628)
MEDICAL SUPPLIES                                     $      (61,042)   $           -      $        61,042    $      (61,042)   $        (42,829)   $       18,213     $       (61,042)   $        (80,875)   $      (19,833)    $      (61,042)   $        (41,451)   $        19,591    $      (65,123)   $       (87,265)   $       (22,142)
PHARMACY SUPPLIES                                    $      (37,530)   $           -      $        37,530    $      (37,530)   $            -      $       37,530     $       (37,530)   $            -      $       37,530     $      (37,530)   $            -      $        37,530    $      (19,422)   $       (10,595)   $         8,827
OTHER DIRECT EXPENSES                                $     (253,928)   $      (159,467)   $        94,461    $     (253,928)   $       (272,979)   $      (19,051)    $      (253,928)   $       (129,113)   $      124,815     $     (253,928)   $       (242,799)   $        11,129    $     (223,978)   $       (34,893)   $       189,085
   US Trustee Fees                                   $          -      $           -      $           -      $          -      $            -      $          -       $           -      $            -      $          -       $          -      $            -      $           -      $          -      $           -      $           -
   Debtor Professionals Expense                      $          -      $           -      $           -      $          -      $            -      $          -       $           -      $            -      $          -       $          -      $            -      $           -      $          -      $           -      $           -
   Lender Professionals Expense                      $          -      $           -      $           -      $          -      $            -      $          -       $           -      $            -      $          -       $          -      $            -      $           -      $          -      $           -      $           -
   Committee Professionals Expense                   $          -      $           -      $           -      $          -      $            -      $          -       $           -      $            -      $          -       $          -      $            -      $           -      $          -      $           -      $           -
   CRA Professionals Expense
DEPRECIATION                                         $          -      $           -      $           -      $          -      $            -      $          -       $           -      $            -      $          -       $          -      $            -      $          -       $          -      $           -      $           -
NYS ASSESSMENT                                       $       (3,492)   $           -      $         3,492    $       (3,492)   $            -      $        3,492     $        (3,492)   $            -      $        3,492     $       (2,794)   $            -      $        2,794     $       (3,462)   $       (11,795)   $        (8,333)
INTEREST                                             $       (8,747)   $          (504)   $         8,243    $       (8,747)   $         (1,792)   $        6,955     $        (8,747)   $           (503)   $        8,244     $       (6,997)   $            -      $        6,997     $          -      $           -      $           -
   Equipment Leases - Interest                       $          -      $           -      $           -      $          -      $            -      $          -       $           -      $            -      $          -       $          -      $            -      $          -       $          -      $           -      $           -
   Citizens Loans - Interest                         $          -      $           -      $           -      $          -      $            -      $          -       $           -      $            -      $          -       $          -      $            -      $          -       $      (28,515)   $       (29,039)   $          (524)
Principal Payments                                   $          -      $           -      $           -      $          -      $            -      $          -       $           -      $            -      $          -       $          -      $            -      $          -       $          -      $           -      $           -
   Equipment Leases - Principal                      $          -      $        (5,740)   $        (5,740)   $          -      $         (6,033)   $       (6,033)    $           -      $            -      $          -       $          -      $            -      $          -       $          -      $        (6,780)   $        (6,780)
   Citizens Loans - Principal                        $          -      $           -      $           -      $          -      $            -      $          -       $           -      $            -      $          -       $          -      $            -      $          -       $      (12,756)   $       (12,756)   $           -
Capital Purchases                                    $      (10,000)   $       (25,375)   $       (15,375)   $      (10,000)   $            -      $       10,000     $       (10,000)   $            -      $       10,000     $      (10,000)   $            -      $       10,000     $      (10,000)   $        (3,782)   $         6,218
Transfer to Capital Account - Non Legal
Defined Benefit Pension payments                     $            -    $           -      $              -   $            -    $            -      $              -   $            -     $            -      $              -   $            -    $            -      $              -   $            -    $           -      $              -

TOTAL EXPENSES                                       $     (465,492) $        (276,700) $        188,792 $       (1,837,268) $       (1,694,635) $        142,633 $           (465,492) $        (238,793) $        226,699 $       (1,429,820) $       (1,351,676) $         78,144 $         (614,298) $         (535,123) $        79,175
             Variance - Cumulative                                                                       $       (2,302,760) $       (1,971,335) $        331,425 $         (2,768,252) $      (2,210,128) $        558,124 $       (4,198,072) $       (3,561,804) $        636,268 $       (4,812,370) $       (4,096,927) $       715,443
            Variance %s - Cumulative                                                                                                       -61%              -14%                                    -54%              -20%                                   -71%              -15%                                   -70%             -15%

Net Cash Flow                                        $    1,890,382 $        2,099,205 $         208,823 $         (981,394) $         (827,891) $        153,503 $           390,382 $          647,623 $          257,241 $         (743,667) $         (465,792) $        277,875 $         153,996 $           319,046 $         165,050

Cash Balance Beginning of period                     $      794,832 $          604,953 $         (189,879) $      2,704,158 $         2,704,158 $             -   $         1,876,268 $         1,876,268 $             -   $        2,523,891 $         2,523,891 $             -   $        2,058,099 $        2,058,099 $             -
Cash Balance -End of Period                          $    2,685,213 $        2,704,158 $           18,945 $       1,722,764 $         1,876,268 $         153,504 $         2,266,650 $         2,523,891 $         257,241 $        1,780,224 $         2,058,099 $         277,875 $        2,212,095 $        2,377,145 $         165,050

Cash Balance (Citizens Bank)

Cash Balance (PPP Loan)

Total Ending Cash Balance (Citizens & Cornerstone)




                                                                       Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                                                                                      Description: Main Document , Page 79 of 84
                ENH 13 Week Cash Flow_Cash Collateral Order 7.8.20                                                                                            Page 1 of 6                                                                                                                                           7/8/2020
EASTERN NIAGARA HOSPITAL
13 Week Cash Flow Projection
                                                                           12/14/2019                                               WE 12/21/19                                               WE 12/28/19                                              WE 1/4/20                                                WE 1/11/20
RECEIPTS                                                 Budget              Actual            Variance           Budget              Actual            Variance           Budget               Actual            Variance           Budget             Actual            Variance           Budget               Actual            Variance
Operating
 Net Patient Service Revenue                         $     762,547 $           637,213 $          (125,334) $       762,547 $          1,016,255 $         253,708 $           610,038 $           716,395 $          106,357 $        646,382 $           641,158 $           (5,224) $        853,408 $          1,048,013 $         194,605
 Other Recurring Operating Revenue                   $       5,747 $            14,871 $             9,124 $          5,747 $             10,335 $           4,587 $             5,747 $               754 $           (4,993) $         6,216 $            10,825 $            4,608 $           6,568                      $          (6,568)
 GPO                                                 $         -                       $               -    $           -                        $             -   $           100,000                     $         (100,000) $           -                       $              -    $            -   $            143,349 $         143,349
Non Operating                                        $         -                                            $           -                                          $               -                                           $           -                                           $            -
 VAPAP                                               $         -                           $           -    $           -                           $          -   $               -                          $           -    $           -                          $           -    $            -                           $              -
 VAP                                                 $         -                           $           -    $           -                           $          -   $               -                          $           -    $           -                          $           -    $            -                           $              -
 Stimulus / PPP Loan
 Interest Revenue                                    $            -                        $              -   $            -                        $              -   $            -                         $              -   $            -                       $              -   $            -                         $              -
 Donations                                           $            -                        $              -   $            -                        $              -   $            -                         $              -   $            -                       $              -   $            -                         $              -
 Transfer from Cornerstone Bank (PPP Loan)
 Transfer from Payroll Account
 Transfer from Capital Funds Account
 Net proceeds from sale of assets                    $          -                       $              -    $            -                       $             -    $              -                       $             -    $             -                      $             -    $             -                        $             -
Total Receipts                                       $      768,295 $           652,084 $         (116,211) $        768,295 $         1,026,590 $         258,295 $           715,785 $           717,149 $           1,364 $          652,598 $          651,982 $            (616) $         859,976 $          1,191,362 $         331,386
                Variance - Cumulative                $    6,290,364 $         6,521,202 $          230,838 $       7,058,659 $         7,547,792 $         489,133 $         7,774,444 $         8,264,941 $         490,497 $        8,427,042 $        8,916,923 $         489,880 $        9,287,018 $         10,108,285 $         821,266
               Variance % - Cumulative                                                                   4%                                                      7%                                                        6%                                                      6%                                                        9%

EXPENSES:
SALARIES & WAGES                                     $     (936,594)   $       (987,909)   $       (51,316)   $          -      $            -      $          -       $      (936,594)   $       (887,520)   $        49,073    $          -      $        (2,710)   $       (2,710)    $     (910,907)    $       (878,501)   $       32,406
PHYSICIAN FEES                                       $      (28,767)   $        (83,895)   $       (55,128)   $          -      $        (71,024)   $      (71,024)    $       (28,767)   $        (27,816)   $           951    $     (165,981)   $       (87,534)   $       78,447     $      (19,020)    $        (24,011)   $       (4,991)
FRINGE BENEFITS                                      $       (7,317)   $        (38,059)   $       (30,742)   $     (357,202)   $           (451)   $      356,752     $      (103,439)   $       (134,612)   $       (31,173)   $          -      $       (30,889)   $      (30,889)    $     (400,692)    $       (369,013)   $       31,680
MEDICAL SUPPLIES                                     $      (65,123)   $       (128,038)   $       (62,915)   $      (65,123)   $        (40,274)   $       24,849     $       (65,123)   $        (43,473)   $        21,650    $      (64,224)   $       (53,188)   $       11,035     $      (63,549)    $        (55,531)   $        8,018
PHARMACY SUPPLIES                                    $      (19,422)   $        (15,775)   $         3,647    $      (19,422)   $        (21,414)   $       (1,992)    $       (19,422)   $        (14,762)   $         4,659    $      (19,730)   $       (18,960)   $          769     $      (19,960)    $         (9,417)   $       10,544
OTHER DIRECT EXPENSES                                $     (177,481)   $       (108,167)   $        69,314    $     (143,753)   $        (70,301)   $       73,452     $      (177,481)   $       (289,143)   $      (111,662)   $     (221,251)   $       (58,499)   $      162,751     $     (166,198)    $       (132,410)   $       33,787
   US Trustee Fees                                   $          -      $            -      $           -      $          -      $            -      $          -       $           -      $        (20,000)   $       (20,000)   $      (12,851)   $           -      $       12,851     $      (22,490)    $            -      $       22,490
   Debtor Professionals Expense                      $          -      $            -      $           -      $          -      $            -      $          -       $           -      $        (20,000)   $       (20,000)   $       (6,452)   $           -      $        6,452     $      (11,290)    $            -      $       11,290
   Lender Professionals Expense                      $          -      $            -      $           -      $          -      $            -      $          -       $           -      $            -      $           -      $       (4,516)   $           -      $        4,516     $       (7,903)    $            -      $        7,903
   Committee Professionals Expense                   $          -      $            -      $           -      $          -      $            -      $          -       $           -      $            -      $           -      $       (5,161)   $           -      $        5,161     $       (9,032)    $            -      $        9,032
   CRA Professionals Expense
DEPRECIATION                                         $          -      $            -      $           -      $          -      $            -      $           -      $           -      $            -      $          -       $          -      $           -      $           -      $           -      $            -      $           -
NYS ASSESSMENT                                       $       (3,462)   $            -      $         3,462    $       (3,462)   $            -      $         3,462    $        (2,770)   $            -      $        2,770     $       (2,724)   $           -      $         2,724    $        (3,349)   $        (15,219)   $       (11,870)
INTEREST                                             $          -      $            -      $           -      $          -      $            -      $           -      $           -      $            -      $          -       $          -      $           -      $           -      $           -      $            -      $           -
   Equipment Leases - Interest                       $          -      $         (1,130)   $        (1,130)   $          -      $         (9,230)   $        (9,230)   $        (8,895)   $            -      $        8,895     $          -      $          (501)   $          (501)   $           -      $           (464)   $          (464)
   Citizens Loans - Interest                         $          -      $            -      $           -      $          -      $            -      $           -      $           -      $            -      $          -       $      (28,515)   $       (29,081)   $          (566)   $           -      $            -      $           -
Principal Payments                                   $          -      $            -      $           -      $          -      $            -      $           -      $           -      $            -      $          -       $          -      $           -      $           -      $           -      $            -      $           -
   Equipment Leases - Principal                      $          -      $        (16,085)   $       (16,085)   $          -      $        (78,387)   $       (78,387)   $       (22,144)   $            -      $       22,144     $          -      $        (6,803)   $        (6,803)   $           -      $         (5,780)   $        (5,780)
   Citizens Loans - Principal                        $          -      $            -      $           -      $          -      $            -      $           -      $           -      $            -      $          -       $      (12,756)   $       (12,422)   $           334    $           -      $            -      $           -
Capital Purchases                                    $      (10,000)   $           (540)   $         9,460    $      (10,000)   $            -      $        10,000    $       (10,000)   $            -      $       10,000     $          -      $       (51,743)   $       (51,743)   $       (10,000)   $            -      $        10,000
Transfer to Capital Account - Non Legal
Defined Benefit Pension payments                     $            -    $            -      $              -   $            -    $            -      $              -   $            -     $            -      $              -   $            -    $           -      $              -   $            -     $            -      $              -

TOTAL EXPENSES                                       $   (1,248,166) $       (1,379,598) $        (131,432) $       (598,962) $          (291,081) $       307,881 $         (1,374,634) $       (1,437,327) $       (62,693) $        (544,160) $         (352,331) $        191,830 $       (1,644,391) $       (1,490,346) $         154,045
             Variance - Cumulative                   $   (6,060,536) $       (5,476,525) $         584,011 $      (6,659,499) $        (5,767,606) $       891,892 $         (8,034,133) $       (7,204,933) $       829,200 $       (8,578,293) $       (7,557,264) $      1,021,029 $      (10,222,684) $       (9,047,610) $       1,175,075
            Variance %s - Cumulative                                               -84%               -10%                                   -76%             -13%                                     -87%             -10%                                   -85%              -12%                                   -90%               -11%

Net Cash Flow                                        $     (479,871) $         (727,514) $        (247,643) $       169,332 $            735,509 $         566,176 $          (658,849) $         (720,179) $         (61,329) $       108,438 $           299,652 $         191,214 $         (784,415) $          (298,984) $        485,431

Cash Balance Beginning of period                     $    2,377,145 $         2,377,145 $              -    $      1,649,631 $         1,649,631 $             -   $         2,385,140 $         2,385,140 $              -    $      1,664,961 $        1,664,961 $             -   $        1,964,613 $          1,964,613 $             -
Cash Balance -End of Period                          $    1,897,274 $         1,649,631 $         (247,643) $      1,818,963 $         2,385,140 $         566,176 $         1,726,290 $         1,664,961 $          (61,329) $      1,773,399 $        1,964,613 $         191,214 $        1,180,198 $          1,665,629 $         485,431

Cash Balance (Citizens Bank)

Cash Balance (PPP Loan)

Total Ending Cash Balance (Citizens & Cornerstone)




                                                                       Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                                                                                      Description: Main Document , Page 80 of 84
                ENH 13 Week Cash Flow_Cash Collateral Order 7.8.20                                                                                             Page 2 of 6                                                                                                                                            7/8/2020
EASTERN NIAGARA HOSPITAL
13 Week Cash Flow Projection
                                                                            WE 1/18/20                                                WE 1/25/20                                                 WE 2/1/20                                                 WE 2/8/20                                                  WE 2/15/20
RECEIPTS                                                 Budget               Actual            Variance           Budget               Actual            Variance           Budget               Actual             Variance           Budget              Actual             Variance            Budget               Actual            Variance
Operating
 Net Patient Service Revenue                         $      853,408     $       774,243     $       (79,165) $        853,408     $       726,764     $      (126,643) $          853,408    $       693,924 $          (159,484) $        811,248     $       676,433     $      (134,816) $         811,248     $       740,649     $       (70,599)
 Other Recurring Operating Revenue                   $        6,568     $        13,828     $         7,260 $           6,568     $        12,098     $         5,530 $             6,633    $        14,729 $             8,096 $           7,021     $           -       $        (7,021) $           7,021     $         8,683     $         1,662
 GPO                                                 $          -       $           -       $           -    $            -       $           -       $           -    $        1,331,881    $     1,331,881 $               -    $            -       $           -       $           -    $             -       $           -       $           -
Non Operating                                        $          -       $           -                        $            -       $           -                        $              -                                           $            -       $           -                        $             -       $           -
 VAPAP                                               $          -       $           -       $           -    $            -       $           -       $           -    $              -                      $               -    $            -       $           -       $           -    $             -       $           -       $              -
 VAP                                                 $          -       $           -       $           -    $            -       $           -       $           -    $          393,750    $       393,750 $               -    $            -       $           -       $           -    $             -       $           -       $              -
 Stimulus / PPP Loan
 Interest Revenue                                    $            -     $            -      $              -   $            -     $            -      $              -   $            -                          $              -   $            -     $            -      $              -    $            -     $            -      $              -
 Donations                                           $            -     $            -      $              -   $            -     $            -      $              -   $            -                          $              -   $            -     $            -      $              -    $            -     $            -      $              -
 Transfer from Cornerstone Bank (PPP Loan)
 Transfer from Payroll Account
 Transfer from Capital Funds Account                                                                                                                                                                                              $            -       $           -       $           -       $          -       $            -      $          -
 Net proceeds from sale of assets                    $          -   $                -   $             -    $             -   $                -   $              -    $              -                      $               -    $            -       $           -       $           -       $          -       $            -      $          -
Total Receipts                                       $      859,976 $            788,071 $         (71,905) $         859,976 $            738,863 $         (121,113) $        2,585,672 $        2,434,284 $          (151,387) $        818,270     $       676,433     $      (141,837)    $      818,270     $        749,332    $      (68,938)
                Variance - Cumulative                $   10,146,994 $         10,896,356 $         749,361 $       11,006,970 $         11,635,219 $          628,248 $        13,592,642 $       14,069,503 $           476,861 $      14,410,912     $    14,745,935     $       335,024     $   15,229,181     $     15,495,267    $      266,086
               Variance % - Cumulative                                                                   7%                                                         6%                                                         4%                                                        2%                                                        2%

EXPENSES:
SALARIES & WAGES                                     $          -       $            (76)   $           (76)   $     (910,907)    $       (866,471)   $        44,436    $            -      $          (366)    $          (366)   $     (870,677)    $      (863,377)    $         7,300     $          -       $            -      $          -
PHYSICIAN FEES                                       $          -       $           (120)   $          (120)   $      (19,020)    $        (10,395)   $         8,625    $        (40,000)   $      (127,763)    $       (87,763)   $      (17,885)    $       (86,813)    $       (68,927)    $     (156,082)    $           (480)   $      155,602
FRINGE BENEFITS                                      $          -       $           (650)   $          (650)   $     (145,524)    $       (115,463)   $        30,061    $        (91,000)   $       (22,442)    $        68,559    $      (26,963)    $       (19,662)    $         7,302     $     (476,381)    $       (363,955)   $      112,426
MEDICAL SUPPLIES                                     $      (63,549)    $        (74,735)   $       (11,186)   $      (63,549)    $        (83,339)   $       (19,791)   $        (63,509)   $       (68,679)    $        (5,169)   $      (63,275)    $       (61,341)    $         1,934     $      (63,275)    $        (83,453)   $      (20,178)
PHARMACY SUPPLIES                                    $      (19,960)    $        (23,211)   $        (3,250)   $      (19,960)    $        (41,397)   $       (21,436)   $        (19,938)   $       (13,481)    $         6,457    $      (19,805)    $       (25,163)    $        (5,357)    $      (19,805)    $            -      $       19,805
OTHER DIRECT EXPENSES                                $     (134,768)    $       (129,460)   $         5,308    $     (166,198)    $       (166,856)   $          (659)   $       (137,413)   $      (217,445)    $       (80,031)   $     (261,594)    $      (183,003)    $        78,591     $     (153,285)    $       (164,694)   $      (11,409)
   US Trustee Fees                                   $      (22,490)    $        (10,000)   $        12,490    $      (22,490)    $            -      $        22,490    $        (19,277)   $           -       $        19,277    $          -       $       (30,000)    $       (30,000)    $          -       $        (10,000)   $      (10,000)
   Debtor Professionals Expense                      $      (11,290)    $        (10,000)   $         1,290    $      (11,290)    $            -      $        11,290    $        (11,402)   $           -       $        11,402    $      (12,069)    $       (30,000)    $       (17,931)    $      (12,069)    $        (10,000)   $        2,069
   Lender Professionals Expense                      $       (7,903)    $            -      $         7,903    $       (7,903)    $            -      $         7,903    $         (7,981)   $           -       $         7,981    $       (8,448)    $       (68,295)    $       (59,847)    $       (8,448)    $        (10,000)   $       (1,552)
   Committee Professionals Expense                   $       (9,032)    $            -      $         9,032    $       (9,032)    $            -      $         9,032    $         (8,776)   $           -       $         8,776    $       (7,241)    $       (10,000)    $        (2,759)    $       (7,241)    $         (5,000)   $        2,241
   CRA Professionals Expense
DEPRECIATION                                         $           -      $            -      $           -      $           -      $            -      $          -       $            -      $            -      $          -       $           -      $            -      $           -       $           -      $            -      $           -
NYS ASSESSMENT                                       $        (3,349)   $            -      $         3,349    $        (3,349)   $            -      $        3,349     $         (3,349)   $            -      $        3,349     $        (3,450)   $        (18,674)   $       (15,224)    $        (3,450)   $            -      $         3,450
INTEREST                                             $           -      $            -      $           -      $           -      $            -      $          -       $            -      $            -      $          -       $           -      $            -      $           -       $           -      $            -      $           -
   Equipment Leases - Interest                       $           -      $           (618)   $          (618)   $           -      $           (460)   $         (460)    $        (10,517)   $           (993)   $        9,524     $           -      $           (443)   $          (443)    $           -      $           (590)   $          (590)
   Citizens Loans - Interest                         $           -      $            -      $           -      $           -      $            -      $          -       $            -      $            -      $          -       $       (28,515)   $        (29,303)   $          (788)    $           -      $            -      $           -
Principal Payments                                   $           -      $            -      $           -      $           -      $            -      $          -       $            -      $            -      $          -       $           -      $            -      $           -       $           -      $            -      $           -
   Equipment Leases - Principal                      $           -      $        (11,384)   $       (11,384)   $           -      $         (3,875)   $       (3,875)    $        (96,678)   $        (20,801)   $       75,877     $           -      $         (5,801)   $        (5,801)    $           -      $        (10,382)   $       (10,382)
   Citizens Loans - Principal                        $           -      $            -      $           -      $           -      $            -      $          -       $            -      $            -      $          -       $       (12,756)   $        (12,756)   $             (0)   $           -      $            -      $           -
Capital Purchases                                    $       (10,000)   $            -      $        10,000    $       (10,000)   $            -      $       10,000     $        (10,000)   $            -      $       10,000     $       (10,000)   $            -      $        10,000     $       (10,000)   $         (1,695)   $         8,305
Transfer to Capital Account - Non Legal                                                                                                                                                                                             $           -      $            -                          $           -      $            -
Defined Benefit Pension payments                     $            -     $            -      $              -   $            -     $            -      $              -   $            -      $            -      $              -   $           -      $            -      $              -    $           -      $            -      $              -

TOTAL EXPENSES                                       $      (282,342) $         (260,254) $          22,088 $       (1,389,223) $       (1,288,257) $         100,966 $         (519,842) $          (471,969) $          47,873 $       (1,342,680) $       (1,444,632) $        (101,952) $         (910,037) $         (660,248) $         249,789
             Variance - Cumulative                   $   (10,505,027) $       (9,307,864) $       1,197,163 $      (11,894,249) $      (10,596,121) $       1,298,128 $      (12,414,091) $       (11,068,090) $       1,346,001 $      (13,756,771) $      (12,512,722) $       1,244,049 $       (14,666,808) $      (13,172,970) $       1,493,838
            Variance %s - Cumulative                                                -85%               -11%                                   -91%               -11%                                    -79%               -11%                                   -85%                 -9%                                   -85%               -10%

Net Cash Flow                                        $      577,634 $           527,817 $           (49,817) $       (529,247) $          (549,394) $         (20,148) $        2,065,830 $        1,962,315 $          (103,515) $       (524,410) $         (768,200) $         (243,789) $         (91,767) $           89,084 $          180,851

Cash Balance Beginning of period                     $    1,665,629 $          1,665,629 $              -    $      2,193,445 $          2,193,445 $              -    $        1,644,051 $        1,644,051 $               -    $      3,606,366 $         3,606,366 $               -    $       2,838,167 $          2,838,167 $             -
Cash Balance -End of Period                          $    2,243,262 $          2,193,445 $          (49,817) $      1,664,199 $          1,644,051 $          (20,148) $        3,709,881 $        3,606,366 $          (103,515) $      3,081,956 $         2,838,167 $          (243,789) $       2,746,400 $          2,927,251 $         180,851

Cash Balance (Citizens Bank)

Cash Balance (PPP Loan)

Total Ending Cash Balance (Citizens & Cornerstone)




                                                                        Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                                                                                       Description: Main Document , Page 81 of 84
                ENH 13 Week Cash Flow_Cash Collateral Order 7.8.20                                                                                               Page 3 of 6                                                                                                                                                7/8/2020
EASTERN NIAGARA HOSPITAL
13 Week Cash Flow Projection
                                                                            WE 2/22/20                                                WE 2/29/20                                                 WE 3/7/20                                                 WE 3/14/20                                                WE 3/21/20
RECEIPTS                                                 Budget               Actual            Variance           Budget               Actual            Variance           Budget               Actual             Variance           Budget               Actual            Variance           Budget               Actual            Variance
Operating
 Net Patient Service Revenue                         $      811,248     $       780,956     $       (30,292) $        811,248     $       815,726     $         4,478 $          832,445     $       902,741     $       70,296 $          832,445     $       905,331     $       72,887 $          832,445     $       857,294     $       24,849
 Other Recurring Operating Revenue                   $        7,021     $        13,955     $         6,934 $           7,021     $        15,156     $         8,135 $            6,568     $       112,039     $      105,471 $            6,568     $        21,405     $       14,837 $            6,568     $           -       $       (6,568)
 GPO                                                 $          -       $           -       $           -    $            -       $           -       $           -   $              -       $           -       $          -   $              -       $           -       $          -   $              -       $           -       $          -
Non Operating                                        $          -       $           -                        $            -       $           -                       $              -       $           -                      $              -       $           -                      $              -       $           -
 VAPAP                                               $          -       $           -       $           -    $            -       $           -       $           -   $              -       $           -       $          -   $              -       $           -       $          -   $              -       $           -       $              -
 VAP                                                 $          -       $           -       $           -    $            -       $           -       $           -   $          393,750     $       393,750     $          -   $              -       $           -       $          -   $              -       $           -       $              -
 Stimulus / PPP Loan
 Interest Revenue                                    $            -     $            -      $              -   $            -     $            -      $              -   $            -      $            -      $              -   $            -     $            -      $              -   $            -     $            -      $              -
 Donations                                           $            -     $            -      $              -   $            -     $            -      $              -   $            -      $            -      $              -   $            -     $            -      $              -   $            -     $            -      $              -
 Transfer from Cornerstone Bank (PPP Loan)
 Transfer from Payroll Account
 Transfer from Capital Funds Account                 $          -       $            -      $          -       $          -       $         66,074    $       66,074     $            -      $           -                       $             -       $            -                      $             -       $            -
 Net proceeds from sale of assets                    $          -       $            -      $          -       $          -       $            -      $          -       $            -      $           -   $              -    $             -       $            -   $             -    $             -       $            -   $             -
Total Receipts                                       $      818,270     $        794,911    $      (23,358)    $      818,270     $        896,957    $       78,687     $      1,232,763    $     1,408,530 $          175,767 $          839,013     $        926,736 $          87,723 $          839,013     $        857,294 $          18,281
                Variance - Cumulative                $   16,047,451     $     16,290,178    $      242,727     $   16,865,721     $     17,187,135    $      321,414     $     18,098,484    $    18,595,665 $          497,181 $       18,937,497     $     19,522,402 $         584,905 $       19,776,510     $     20,379,695 $         603,185
               Variance % - Cumulative                                                                   2%                                                        2%                                                         3%                                                        3%                                                        3%

EXPENSES:
SALARIES & WAGES                                     $     (870,677)    $       (814,483)   $        56,195    $          -       $        (26,370)   $       (26,370)   $       (840,948)   $      (882,909)    $       (41,962)   $          -       $         (2,064)   $       (2,064)    $     (840,948)    $       (840,145)   $           802
PHYSICIAN FEES                                       $      (17,885)    $        (13,533)   $         4,353    $          -       $        (82,991)   $       (82,991)   $        (17,885)   $       (92,416)    $       (74,530)   $     (156,082)    $         (3,200)   $      152,883     $      (17,885)    $         (8,058)   $         9,828
FRINGE BENEFITS                                      $      (26,963)    $       (114,725)   $       (87,762)   $      (87,290)    $        (35,747)   $        51,543    $        (26,413)   $       (41,518)    $       (15,105)   $     (295,240)    $       (318,608)   $      (23,368)    $      (26,413)    $        (24,782)   $         1,630
MEDICAL SUPPLIES                                     $      (63,275)    $       (102,785)   $       (39,510)   $      (63,275)    $        (61,746)   $         1,529    $        (63,666)   $       (67,814)    $        (4,147)   $      (63,666)    $        (93,852)   $      (30,185)    $      (63,666)    $        (37,112)   $        26,554
PHARMACY SUPPLIES                                    $      (19,805)    $        (33,586)   $       (13,780)   $      (19,805)    $        (16,450)   $         3,356    $        (21,698)   $       (21,646)    $            52    $      (21,698)    $        (25,130)   $       (3,432)    $      (21,698)    $        (37,345)   $       (15,648)
OTHER DIRECT EXPENSES                                $     (184,294)    $       (176,259)   $         8,035    $     (153,285)    $       (232,949)   $       (79,664)   $       (250,842)   $      (243,902)    $         6,940    $     (136,844)    $        (93,380)   $       43,464     $     (168,211)    $       (146,643)   $        21,568
   US Trustee Fees                                   $          -       $            -      $           -      $          -       $        (66,174)   $       (66,174)   $            -      $           -       $           -      $          -       $        (10,000)   $      (10,000)    $          -       $            -      $           -
   Debtor Professionals Expense                      $      (12,069)    $            -      $        12,069    $      (12,069)    $        (15,000)   $        (2,931)   $        (11,290)   $           -       $        11,290    $      (11,290)    $        (10,000)   $        1,290     $      (11,290)    $            -      $        11,290
   Lender Professionals Expense                      $       (8,448)    $        (42,055)   $       (33,606)   $       (8,448)    $        (15,000)   $        (6,552)   $         (7,903)   $       (27,882)    $       (19,979)   $       (7,903)    $        (10,000)   $       (2,097)    $       (7,903)    $            -      $         7,903
   Committee Professionals Expense                   $       (7,241)    $            -      $         7,241    $       (7,241)    $         (5,000)   $         2,241    $         (6,774)   $           -       $         6,774    $       (6,774)    $         (5,000)   $        1,774     $       (6,774)    $            -      $         6,774
   CRA Professionals Expense
DEPRECIATION                                         $           -      $            -      $          -       $           -      $            -      $          -       $            -      $            -      $          -       $           -      $            -      $           -      $           -      $            -      $           -
NYS ASSESSMENT                                       $        (3,450)   $            -      $        3,450     $        (3,450)   $            -      $        3,450     $         (3,349)   $            -      $        3,349     $        (3,349)   $            -      $         3,349    $        (3,349)   $            -      $         3,349
INTEREST                                             $           -      $            -      $          -       $           -      $            -      $          -       $            -      $            -      $          -       $           -      $            -      $           -      $           -      $            -      $           -
   Equipment Leases - Interest                       $           -      $           (438)   $         (438)    $        (1,769)   $           (455)   $        1,315     $            -      $            -      $          -       $           -      $           (984)   $          (984)   $           -      $           (416)   $          (416)
   Citizens Loans - Interest                         $           -      $            -      $          -       $           -      $            -      $          -       $        (28,515)   $        (26,153)   $        2,362     $           -      $            -      $           -      $           -      $            -      $           -
Principal Payments                                   $           -      $            -      $          -       $           -      $            -      $          -       $            -      $            -      $          -       $           -      $            -      $           -      $           -      $            -      $           -
   Equipment Leases - Principal                      $           -      $         (3,897)   $       (3,897)    $       (22,144)   $         (7,364)   $       14,780     $            -      $            -      $          -       $           -      $        (16,232)   $       (16,232)   $           -      $         (3,919)   $        (3,919)
   Citizens Loans - Principal                        $           -      $            -      $          -       $           -      $            -      $          -       $        (12,756)   $        (12,756)   $            (0)   $           -      $            -      $           -      $           -      $            -      $           -
Capital Purchases                                    $       (10,000)   $            -      $       10,000     $       (10,000)   $            -      $       10,000     $        (10,000)   $            -      $       10,000     $       (10,000)   $            -      $        10,000    $       (10,000)   $        (11,623)   $        (1,623)
Transfer to Capital Account - Non Legal              $           -      $            -                         $           -      $            -                         $            -      $            -                         $           -      $            -                         $           -      $            -
Defined Benefit Pension payments                     $           -      $            -      $              -   $           -      $            -      $              -   $            -      $            -      $              -   $           -      $            -      $              -   $           -      $            -      $              -

TOTAL EXPENSES                                       $    (1,224,108) $       (1,301,760) $         (77,652) $        (388,777) $         (565,245) $        (176,468) $      (1,302,040) $        (1,416,995) $        (114,955) $        (712,847) $         (588,449) $         124,398 $       (1,178,137) $       (1,110,044) $          68,093
             Variance - Cumulative                   $   (15,890,916) $      (14,474,731) $       1,416,186 $      (16,279,693) $      (15,039,976) $       1,239,718 $      (17,581,733) $       (16,456,971) $       1,124,762 $      (18,294,580) $      (17,045,420) $       1,249,161 $      (19,472,717) $      (18,155,463) $       1,317,254
            Variance %s - Cumulative                                                -89%                 -9%                                  -88%                 -8%                                   -88%                 -6%                                  -87%                 -7%                                  -89%                 -7%

Net Cash Flow                                        $     (405,839) $          (506,849) $        (101,010) $        429,493 $           331,712 $           (97,781) $          (69,277) $           (8,465) $         60,812 $          126,166 $           338,288 $          212,122 $         (339,124) $          (252,750) $         86,374

Cash Balance Beginning of period                     $    2,927,251 $          2,927,251 $              -    $      2,420,402 $          2,420,402 $              -    $        2,752,114 $        2,752,114 $              -   $        2,743,648 $          2,743,648 $             -   $        3,081,936 $          3,081,936 $             -
Cash Balance -End of Period                          $    2,521,412 $          2,420,402 $         (101,010) $      2,849,895 $          2,752,114 $          (97,781) $        2,682,837 $        2,743,648 $           60,812 $        2,869,814 $          3,081,936 $         212,122 $        2,742,812 $          2,829,186 $          86,374

Cash Balance (Citizens Bank)

Cash Balance (PPP Loan)

Total Ending Cash Balance (Citizens & Cornerstone)




                                                                        Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                                                                                       Description: Main Document , Page 82 of 84
                ENH 13 Week Cash Flow_Cash Collateral Order 7.8.20                                                                                               Page 4 of 6                                                                                                                                               7/8/2020
EASTERN NIAGARA HOSPITAL
13 Week Cash Flow Projection
                                                                            WE 3/28/20                                                WE 4/4/20                                                    WE 4/11/20                                                WE 4/18/20                                                WE 4/25/20
RECEIPTS                                                 Budget               Actual            Variance           Budget              Actual             Variance             Budget                Actual            Variance           Budget               Actual            Variance           Budget               Actual            Variance
Operating
 Net Patient Service Revenue                         $      832,445     $       891,976     $       59,531 $          832,081     $       708,515     $      (123,566) $            831,838    $       744,385     $       (87,453) $        506,755     $       513,588     $         6,833 $         506,755     $       523,191     $        16,435
 Other Recurring Operating Revenue                   $        6,568     $         4,914     $       (1,655) $           6,693     $           633     $        (6,060) $              6,787    $        17,262     $        10,475 $           6,787     $           -       $        (6,787) $          6,787     $        38,938     $        32,151
 GPO                                                 $          -       $           -       $          -    $             -       $           -       $           -    $                -      $           -       $           -    $            -       $           -       $           -    $            -       $           -       $           -
Non Operating                                        $          -       $           -                       $             -       $           -                        $                -      $           -                        $            -       $           -                        $            -       $           -
 VAPAP                                               $          -       $           -       $          -    $             -       $           -       $           -    $                -      $           -       $           -    $            -       $           -       $           -    $            -       $           -       $              -
 VAP                                                 $          -       $           -       $          -    $             -       $           -       $           -    $                -      $           -       $           -    $            -       $           -       $           -    $            -       $           -       $              -
 Stimulus / PPP Loan
 Interest Revenue                                    $            -     $            -      $              -   $            -     $            -      $              -    $             -      $       630,792 $          630,792 $                -     $            -      $              -   $            -     $       488,534 $          488,534
 Donations                                           $            -     $            -      $              -   $            -     $            -      $              -    $             -      $           -   $              -   $                -     $            -      $              -   $            -     $           -   $              -
 Transfer from Cornerstone Bank (PPP Loan)
 Transfer from Payroll Account
 Transfer from Capital Funds Account                 $          -       $            -                      $             -       $           -                        $              -        $            -                       $            -       $            -                       $            -       $        114,454
 Net proceeds from sale of assets                    $          -       $            -   $             -    $             -       $           -   $               -    $              -        $            -   $              -    $            -       $            -   $              -    $            -       $            -   $              -
Total Receipts                                       $      839,013     $        896,889 $          57,876 $          838,774     $       709,148 $          (129,626) $          838,626      $      1,392,440 $          553,814 $         513,543     $        513,588 $               45 $         513,543     $      1,165,116 $          537,120
                Variance - Cumulative                $   20,615,523     $     21,276,585 $         661,062 $       21,454,297     $    21,985,733 $           531,436 $        22,292,923      $     23,378,173 $        1,085,250 $      22,806,466     $     23,891,761 $        1,085,295 $      23,320,008     $     25,056,877 $        1,736,869
               Variance % - Cumulative                                                                   3%                                                         2%                                                           5%                                                        5%                                                        7%

EXPENSES:
SALARIES & WAGES                                     $          -       $            -      $           -      $     (843,979)    $      (807,648)    $        36,331     $             -      $            -      $          -       $     (843,979)    $       (786,342)   $        57,638    $          -       $            -      $           -
PHYSICIAN FEES                                       $          -       $        (98,248)   $       (98,248)   $      (17,885)    $       (89,453)    $       (71,567)    $        (156,082)   $         (5,400)   $      150,682     $      (17,885)    $        (22,240)   $        (4,355)   $          -       $        (63,333)   $       (63,333)
FRINGE BENEFITS                                      $      (79,448)    $        (13,931)   $        65,517    $     (111,342)    $       (98,918)    $        12,425     $        (311,169)   $       (357,473)   $      (46,304)    $      (28,342)    $           (350)   $        27,992    $      (83,735)    $        (78,462)   $         5,273
MEDICAL SUPPLIES                                     $      (63,666)    $        (59,523)   $         4,143    $      (63,737)    $       (48,963)    $        14,774     $         (63,790)   $        (35,361)   $       28,429     $      (43,561)    $        (54,254)   $       (10,693)   $      (26,094)    $        (37,797)   $       (11,704)
PHARMACY SUPPLIES                                    $      (21,698)    $        (15,626)   $         6,071    $      (21,688)    $       (33,407)    $       (11,719)    $         (21,681)   $        (28,348)   $       (6,667)    $      (14,805)    $        (30,924)   $       (16,119)   $       (8,869)    $        (10,740)   $        (1,872)
OTHER DIRECT EXPENSES                                $     (136,844)    $       (128,379)   $         8,465    $     (246,869)    $      (266,787)    $       (19,918)    $        (135,321)   $       (121,852)   $       13,469     $     (157,238)    $       (109,187)   $        48,051    $     (118,527)    $       (167,799)   $       (49,272)
   US Trustee Fees                                   $          -       $        (20,000)   $       (20,000)   $      (15,749)    $       (10,000)    $         5,749     $         (27,561)   $            -      $       27,561     $      (27,561)    $            -      $        27,561    $      (27,561)    $       (114,454)   $       (86,893)
   Debtor Professionals Expense                      $      (11,290)    $        (20,000)   $        (8,710)   $      (11,505)    $       (20,000)    $        (8,495)    $         (11,667)   $            -      $       11,667     $      (11,667)    $            -      $        11,667    $      (11,667)    $        (15,000)   $        (3,333)
   Lender Professionals Expense                      $       (7,903)    $        (20,000)   $       (12,097)   $       (8,054)    $       (22,800)    $       (14,746)    $          (8,167)   $            -      $        8,167     $       (8,167)    $            -      $         8,167    $       (8,167)    $        (15,000)   $        (6,833)
   Committee Professionals Expense                   $       (6,774)    $        (10,000)   $        (3,226)   $       (6,903)    $        (5,000)    $         1,903     $          (7,000)   $            -      $        7,000     $       (7,000)    $            -      $         7,000    $       (7,000)    $         (5,000)   $         2,000
   CRA Professionals Expense
DEPRECIATION                                         $           -      $            -      $           -      $           -      $            -      $           -       $             -      $            -      $           -      $           -      $            -      $           -      $           -      $            -      $           -
NYS ASSESSMENT                                       $        (3,349)   $            -      $         3,349    $        (3,285)   $            -      $         3,285     $          (3,243)   $            -      $         3,243    $        (3,243)   $            -      $         3,243    $        (3,243)   $            -      $         3,243
INTEREST                                             $           -      $            -      $           -      $           -      $            -      $           -       $             -      $            -      $           -      $           -      $            -      $           -      $           -      $            -      $           -
   Equipment Leases - Interest                       $        (1,769)   $         (7,395)   $        (5,626)   $           -      $           (432)   $          (432)    $             -      $           (402)   $          (402)   $           -      $           (532)   $          (532)   $           -      $           (394)   $          (394)
   Citizens Loans - Interest                         $           -      $            -      $           -      $       (28,515)   $        (27,914)   $           601     $             -      $            -      $           -      $           -      $            -      $           -      $           -      $            -      $           -
Principal Payments                                   $           -      $            -      $           -      $           -      $            -      $           -       $             -      $            -      $           -      $           -      $            -      $           -      $           -      $            -      $           -
   Equipment Leases - Principal                      $       (22,144)   $        (76,402)   $       (54,258)   $           -      $         (6,872)   $        (6,872)    $             -      $         (5,842)   $        (5,842)   $           -      $        (10,440)   $       (10,440)   $           -      $         (4,456)   $        (4,456)
   Citizens Loans - Principal                        $           -      $            -      $           -      $       (12,756)   $        (12,756)   $             (0)   $             -      $            -      $           -      $           -      $            -      $           -      $           -      $            -      $           -
Capital Purchases                                    $       (10,000)   $         (3,025)   $         6,975    $       (10,000)   $            -      $        10,000     $         (10,000)   $            -      $        10,000    $       (10,000)   $            -      $        10,000    $       (10,000)   $         (4,025)   $         5,975
Transfer to Capital Account - Non Legal              $           -      $            -                         $           -      $            -                          $             -      $            -                         $           -      $            -                         $           -      $            -
Defined Benefit Pension payments                     $           -      $            -      $              -   $           -      $            -      $              -    $             -      $            -      $              -   $           -      $            -      $              -   $           -      $            -      $              -

TOTAL EXPENSES                                       $      (364,887) $         (472,529) $        (107,642) $      (1,402,269) $       (1,450,949) $         (48,680) $         (755,680) $           (554,678) $         201,002 $       (1,173,448) $       (1,014,269) $         159,180 $         (304,862) $         (516,462) $        (211,600)
             Variance - Cumulative                   $   (19,837,604) $      (18,627,992) $       1,209,612 $      (21,239,873) $      (20,078,941) $       1,160,932 $       (21,995,553) $        (20,633,619) $       1,361,934 $      (23,169,002) $      (21,647,888) $       1,521,114 $      (23,473,863) $      (22,164,350) $       1,309,514
            Variance %s - Cumulative                                                -88%                 -6%                                  -91%                 -5%                                     -88%                 -6%                                  -91%                 -7%                                  -88%                 -6%

Net Cash Flow                                        $      474,126 $           424,360 $           (49,766) $       (563,495) $         (741,801) $         (178,306) $             82,946 $          837,762 $          754,816 $         (659,906) $          (500,681) $        159,225 $          208,681 $           648,655 $          439,974

Cash Balance Beginning of period                     $    2,829,186 $          2,829,186 $              -    $      3,253,546 $         3,253,546 $               -    $           2,511,746 $        2,511,746 $             -   $        3,349,508 $          3,349,508 $             -   $        2,848,827 $          2,848,827 $             -
Cash Balance -End of Period                          $    3,303,312 $          3,253,546 $          (49,766) $      2,690,052 $         2,511,746 $          (178,306) $           2,594,692 $        3,349,508 $         754,816 $        2,689,602 $          2,848,827 $         159,225 $        3,057,508 $          3,497,481 $         439,974

Cash Balance (Citizens Bank)

Cash Balance (PPP Loan)

Total Ending Cash Balance (Citizens & Cornerstone)




                                                                        Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                                                                                       Description: Main Document , Page 83 of 84
                 ENH 13 Week Cash Flow_Cash Collateral Order 7.8.20                                                                                                  Page 5 of 6                                                                                                                                            7/8/2020
                                                               EASTERN NIAGARA HOSPITAL
                                                               13 Week Cash Flow Projection
                                                                                                                                            WE 5/2/20
                                                               RECEIPTS                                                  Budget              Actual             Variance           Budget
                                                               Operating
                                                                Net Patient Service Revenue                         $       382,004     $       569,992     $      187,987 $          497,877
                                                                Other Recurring Operating Revenue                   $         6,725     $         5,020     $       (1,704) $           6,568
                                                                GPO                                                 $           -       $           -       $          -    $             -
                                                               Non Operating                                        $           -       $           -                       $             -
                                                                VAPAP                                               $           -       $           -       $          -    $             -
                                                                VAP                                                 $           -       $           -       $          -    $             -
                                                                Stimulus / PPP Loan
                                                                Interest Revenue                                    $             -     $            -      $              -   $            -
                                                                Donations                                           $             -     $            -      $              -   $            -
                                                                Transfer from Cornerstone Bank (PPP Loan)
                                                                Transfer from Payroll Account
                                                                Transfer from Capital Funds Account                 $           -       $           -                       $             -
                                                                Net proceeds from sale of assets                    $           -       $        41,848 $            41,848 $             -
                                                               Total Receipts                                       $       388,729     $       616,860 $           228,131 $         504,445
                                                                               Variance - Cumulative                $    21,123,065     $    23,239,453 $         2,116,387 $      23,394,912
                                                                              Variance % - Cumulative                                                                   10%

                                                               EXPENSES:
                                                               SALARIES & WAGES                                     $       (793,858)   $      (723,718)    $        70,140    $           -
                                                               PHYSICIAN FEES                                       $            -      $        (7,780)    $        (7,780)   $      (137,885)
                                                               FRINGE BENEFITS                                      $        (28,342)   $       (21,063)    $         7,279    $           -
                                                               MEDICAL SUPPLIES                                     $        (39,983)   $       (27,465)    $        12,517    $       (11,491)
                                                               PHARMACY SUPPLIES                                    $        (13,606)   $       (10,882)    $         2,724    $        (3,964)
                                                               OTHER DIRECT EXPENSES                                $       (146,149)   $      (268,762)    $      (122,613)   $      (199,493)
                                                                  US Trustee Fees                                   $        (19,687)   $       (10,000)    $         9,687    $       (10,000)
                                                                  Debtor Professionals Expense                      $        (11,559)   $       (10,000)    $         1,559    $       (12,000)
                                                                  Lender Professionals Expense                      $         (8,091)   $       (10,000)    $        (1,909)   $       (12,000)
                                                                  Committee Professionals Expense                   $         (6,935)   $        (5,000)    $         1,935    $        (6,000)
                                                                  CRA Professionals Expense
                                                               DEPRECIATION                                         $            -      $            -      $           -      $           -
                                                               NYS ASSESSMENT                                       $         (3,331)   $            -      $         3,331    $        (2,947)
                                                               INTEREST                                             $            -      $            -      $           -      $           -
                                                                  Equipment Leases - Interest                       $        (10,517)   $           (409)   $        10,109    $           -
                                                                  Citizens Loans - Interest                         $        (28,515)   $        (27,518)   $           997    $           -
                                                               Principal Payments                                   $            -      $            -      $           -      $           -
                                                                  Equipment Leases - Principal                      $        (96,678)   $         (6,895)   $        89,782    $           -
                                                                  Citizens Loans - Principal                        $        (12,756)   $        (12,756)   $           -      $           -
                                                               Capital Purchases                                    $            -      $            -      $           -      $       (10,000)
                                                               Transfer to Capital Account - Non Legal              $            -      $        (41,848)                      $           -
                                                               Defined Benefit Pension payments                     $            -      $            -      $              -   $           -

                                                               TOTAL EXPENSES                                       $     (1,220,008) $       (1,184,098) $          77,758 $         (405,781)
                                                                            Variance - Cumulative                   $    (24,174,029) $      (22,876,479) $       1,297,550 $      (23,756,972)
                                                                           Variance %s - Cumulative                                                 -98%                 -5%

                                                               Net Cash Flow                                        $       (831,279) $        (567,238) $         264,041 $           98,663

                                                               Cash Balance Beginning of period                     $      3,497,481 $        3,497,481 $              -   $        2,930,243
                                                               Cash Balance -End of Period                          $      2,666,203 $        2,930,243 $          264,041 $        3,028,907

                                                               Cash Balance (Citizens Bank)

                                                               Cash Balance (PPP Loan)

                                                               Total Ending Cash Balance (Citizens & Cornerstone)




                                                     Case 1-20-10903-CLB, Doc 7, Filed 07/08/20, Entered 07/08/20 11:30:37,
                                                                    Description: Main Document , Page 84 of 84
ENH 13 Week Cash Flow_Cash Collateral Order 7.8.20                                                                      Page 6 of 6                                                               7/8/2020
